          Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 1 of 9 Page ID #:1


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10                         UNITED STATES DISTRICT COURT
11           CENTRAL DISTRICT OF CALIFORNIA- WESTERN DIVISION
12

13                                         Case No.
     CARMEN JOHN PERRI, an
14                                         Complaint For Damages And
15   individual,                           Injunctive Relief For:

16                   Plaintiff,             1. VIOLATIONS OF THE
17                                             AMERICANS WITH DISABILITIES
     v.                                        ACT OF 1990, 42 U.S.C. §12181 et
18                                             seq.
19   MARISCOS LOS ARCOS, a
                                            2. VIOLATIONS OF THE UNRUH
20   business of unknown form; SAM
                                               CIVIL RIGHTS ACT, CALIFORNIA
     MUSHMEL and RAJAA
21                                             CIVIL CODE § 51 et seq.
     MISHMEL, Trustees of the SAM A.
22   MUSHMEL FAMILY TRUST dated
     March 16, 1990; and DOES 1-10,
23   inclusive,
24

25
                    Defendants.

26

27         Plaintiff, CARMEN JOHN PERRI (“Plaintiff”), complains of Defendants
28   MARISCOS LOS ARCOS, a business of unknown form; SAM MUSHMEL and
                                             1
                                        COMPLAINT
          Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 2 of 9 Page ID #:2


 1   RAJAA MISHMEL, Trustees of the SAM A. MUSHMEL FAMILY TRUST dated
 2   March 16, 1990; and Does 1-10 (“Defendants”) and alleges as follows:
 3                                         PARTIES:
 4         1.     Plaintiff is an adult California resident. Plaintiff has a Disabled Person
 5
     Parking Placard issued to him by the State of California. Plaintiff is substantially
 6
     limited in performing one or more major life activities, including but not limited to:
 7

 8   walking, standing, ambulating, sitting and grasping objects. As a result of these

 9   disabilities, Plaintiff relies upon mobility devices, including at times a wheelchair, to
10   ambulate. With such disabilities, Plaintiff qualifies as a member of a protected class
11
     under the Americans with Disabilities Act (“ADA”), 42 U.S.C. §12102(2) and the
12
     regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.
13

14         2.     Plaintiff brings this action acting as a “private attorney general” as

15   permitted under the American with Disabilities Act of 1990 (“ADA”) to privatize
16   enforcement of the ADA without the American tax payer(s) bearing the financial tax
17
     burden for such action.
18
           3.     Plaintiff is informed and believes and thereon alleges that Defendant
19
     SAM MUSHMEL and RAJAA MISHMEL, Trustees of the SAM A. MUSHMEL
20
     FAMILY TRUST dated March 16, 1990, owned the property located at 14038
21
     Victory Blvd, Van Nuys, CA 91401 (“Property”) on or around November 17, 2018.
22
           4.     Plaintiff is informed and believes and thereon alleges that Defendant
23
     SAM MUSHMEL and RAJAA MISHMEL, Trustees of the SAM A. MUSHMEL
24
     FAMILY TRUST dated March 16, 1990, owns the Property currently.
25
           5.     Plaintiff is informed and believes and thereon alleges that Defendant
26
     MARISCOS LOS ARCOS, a business of unknown form, owned, operated, and
27
     controlled Mariscos Los Arcos (“Business”) located at the Property on November
28
     17, 2018.
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                                           COMPLAINT
          Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 3 of 9 Page ID #:3


 1          6.     Defendant MARISCOS LOS ARCOS, a business of unknown form,
 2   operates and controls the Business located at the Property currently.
 3          7.     Plaintiff does not know the true names of Defendants, their business
 4   capacities, their ownership connection to the subject property and business, or their
 5   relative responsibilities in causing the access violations herein complained of, and
 6   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
 7   informed and believes that each of the Defendants herein, including Does 1 through
 8   10, inclusive, is responsible in some capacity for the events herein alleged, or is a
 9   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
10   when the true names, capacities, connections, and responsibilities of the Defendants
11   and Does 1 through 10, inclusive, are ascertained.
12                               JURISDICTION AND VENUE
13          8.     This Court has subject matter jurisdiction over this action pursuant
14   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
15   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
16          9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
17   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act
18   (“UCRA”) claims are so related to Plaintiff’s federal ADA claims in that they have
19   the same nucleus of operative facts and arising out of the same transactions, they
20   form part of the same case or controversy under Article III of the United States
21   Constitution.
22          10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
23   real property which is the subject of this action is located in this district and because
24   Plaintiff's causes of action arose in this district.
25                                FACTUAL ALLEGATIONS
26          11.    Plaintiff went to the Business on or about November 17, 2018 to
27   purchase lunch.
28          12.    The Business is a facility open to the public, a place of public
                                                  3
                                             COMPLAINT
          Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 4 of 9 Page ID #:4


 1   accommodation, and a business establishment.
 2         13.    Parking spaces are one of the facilities, privileges and advantages
 3   reserved by defendants to persons at the property serving the Business.
 4         14.    Unfortunately, although parking spaces were one of the facilities
 5   reserved for patrons, there were no designated parking spaces available for persons
 6   with disabilities that complied with the Americans with Disability Act Accessibility
 7   Guidelines (“ADAAG”) on November 17, 2018.
 8         15.    Instead of having architectural barrier free facilities for patrons with
 9
     disabilities, Defendants have: a built up curb ramp that projects from the sidewalk
10
     and into the access aisle (Section 406.5). Furthermore, the curb ramp is in excess of
11

12   the maximum grade allowed by ADAAG specifications (Section 406.1); a urinal that

13   has exposed drain pipes; a towel dispenser that is too high according to ADAAG
14   specifications; a mirror that is too high according to ADAAG specifications; and, a
15
     round door knob that requires tight grasping and turning.
16
           16.    Subject to the reservation of rights to assert further violations of law
17
     after a site inspection found infra, Plaintiff asserts there are additional ADA
18
     violations which affect him personally.
19
           17.    Plaintiff is informed and believes and thereon alleges Defendants had
20
     no policy or plan in place to make sure that there was a compliant accessible access
21
     parking reserved for persons with disabilities prior to November 17, 2018.
22
           18.    Plaintiff is informed and believes and thereon alleges Defendants have
23
     no policy or plan in place to make sure that the designated disabled parking for
24
     persons with disabilities comport with the ADAAG.
25
           19.    The designated disabled parking spaces for use by persons with
26
     disabilities are a tip over, crash, fall hazard or trip hazard because it contains a built
27
     up curb ramp and cross slopes.
28
           20.    Plaintiff personally encountered these barriers. These inaccessible
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                                            COMPLAINT
            Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 5 of 9 Page ID #:5


 1   conditions denied the Plaintiff full and equal access and caused him difficulty,
 2   humiliation and frustration.
 3           21.     As an individual with a mobility disability who at times is dependent
 4   upon a wheelchair or other mobility device, Plaintiff has a keen interest in whether
 5   public accommodations have architectural barriers that impede full accessibility to
 6   those accommodations by individuals with mobility impairments.
 7           22.     Plaintiff is being deterred from patronizing the Business and its
 8   accommodations on particular occasions, but intends to return to the Business for the
 9   dual purpose of availing himself of the goods and services offered to the public and
10   to ensure that the Business ceases evading its responsibilities under federal and state
11   law.
12           23.     The defendants have failed to maintain in working and useable
13   conditions those features required to provide ready access to persons with
14   disabilities.
15           24.     The violations identified above are easily removed without much
16   difficulty or expense. They are the types of barriers identified by the Department of
17   Justice as presumably readily achievable to remove and, in fact, these barriers are
18   readily achievable to remove. Moreover, there are numerous alternative
19   accommodations that could be made to provide a greater level of access if complete
20   removal were not achievable.
21           25.     Given the obvious and blatant violation alleged hereinabove, Plaintiff
22   alleges, on information and belief, that there are other violations and barriers in the
23   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
24   notice regarding the scope of this lawsuit, once he conducts a site inspection.
25   However, please be on notice that the Plaintiff seeks to have all barriers related to
26   his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
27   that once a plaintiff encounters one barrier at a site, the plaintiff can sue to have all
28   barriers that relate to his disability removed regardless of whether he personally
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                                             COMPLAINT
          Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 6 of 9 Page ID #:6


 1   encountered them).
 2         26.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 3   alleges, on information and belief, that the failure to remove these barriers was
 4   intentional because: (1) these particular barriers are intuitive and obvious; (2) the
 5   defendants exercised control and dominion over the conditions at this location prior
 6   to November 17, 2018, (3) the lack of accessible facilities was not an accident
 7   because had the defendants intended any other configuration, they had the means
 8   and ability to make the change.
 9         27.    Without injunctive relief, plaintiff will continue to be unable to fully
10   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
11                                FIRST CAUSE OF ACTION
12   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
13                                   42 U.S.C. § 12181 et seq.
14         28.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
15   above and each and every other paragraph in this Complaint necessary or helpful to
16   state this cause of action as though fully set forth herein.
17         29.    Under the ADA, it is an act of discrimination to fail to ensure that the
18   privileges, advantages, accommodations, facilities, goods, and services of any place
19   of public accommodation are offered on a full and equal basis by anyone who owns,
20   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
21   Discrimination is defined, inter alia, as follows:
22                a.      A failure to make reasonable modifications in policies, practices,
23                        or procedures, when such modifications are necessary to afford
24                        goods, services, facilities, privileges, advantages, or
25                        accommodations to individuals with disabilities, unless the
26                        accommodation would work a fundamental alteration of those
27                        services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
28                b.      A failure to remove architectural barriers where such removal is
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                                            COMPLAINT
          Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 7 of 9 Page ID #:7


 1                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 2                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 3                       Appendix "D".
 4                c.     A failure to make alterations in such a manner that, to the
 5                       maximum extent feasible, the altered portions of the facility are
 6                       readily accessible to and usable by individuals with disabilities,
 7                       including individuals who use wheelchairs, or to ensure that, to
 8                       the maximum extent feasible, the path of travel to the altered area
 9                       and the bathrooms, telephones, and drinking fountains serving
10                       the area, are readily accessible to and usable by individuals with
11                       disabilities. 42 U.S.C. § 12183(a)(2).
12         30.    Any business that provides parking spaces must provide accessible
13   parking spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
14   Standards, parking spaces and access aisles must be level with surface slopes not
15   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
16   Standards, access aisles shall be at the same level as the parking spaces they serve.
17   Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
18   required to be nearly level in all directions to provide a surface for wheelchair
19   transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Here the failure to
20   provide a level access aisle in the designated disabled parking space is a violation of
21   the law and excess slope angle in the access pathway is a violation of the law.
22         31.    A public accommodation must maintain in operable working condition
23   those features of its facilities and equipment that are required to be readily accessible
24   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
25         32.    Here, the failure to ensure that accessible facilities were available and
26   ready to be used by Plaintiff is a violation of law.
27         33.    Given its location and options, Plaintiff will continue to desire to
28   patronize the Business but he has been and will continue to be discriminated against
                                                7
                                           COMPLAINT
          Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 8 of 9 Page ID #:8


 1   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 2   the barriers.
 3                               SECOND CAUSE OF ACTION
 4       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 5         34.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6   above and each and every other paragraph in this Complaint necessary or helpful to
 7   state this cause of action as though fully set forth herein.
 8         35.       California Civil Code § 51 et seq. guarantees equal access for people
 9   with disabilities to the accommodations, advantages, facilities, privileges, and
10   services of all business establishments of any kind whatsoever. Defendants are
11   systematically violating the UCRA, Civil Code § 51 et seq.
12         36.       Because Defendants violate Plaintiff’s rights under the ADA, they also
13   violated the UCRA and are liable for damages. (Civ. Code § 51(f), 52(a).) These
14   violations are ongoing.
15         37.       Plaintiff is informed and believes and thereon alleges that Defendants’
16   actions constitute intentional discrimination against Plaintiff on the basis of a
17   disability, in violation of the UCRA, Civil Code § 51 et seq., because Defendants
18   have been previously put on actual or constructive notice that the Business is
19   inaccessible to Plaintiff. Despite this knowledge, Defendants maintain their
20   premises in an inaccessible form, and Defendants have failed to take actions to
21   correct these barriers.
22                                            PRAYER
23   WHEREFORE, Plaintiff prays that this court award damages provide relief as
24   follows:
25         1.        A preliminary and permanent injunction enjoining Defendants from
26   further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
27   51 et seq. with respect to its operation of the Business and Property; Note: Plaintiff
28   is not invoking section 55, et seq, of the California Civil Code and is not seeking
                                                  8
                                             COMPLAINT
         Case 2:18-cv-09851 Document 1 Filed 11/24/18 Page 9 of 9 Page ID #:9


 1   injunctive relief under the Disable Persons Act (Cal. C.C. §54) at all.
 2         2.     An award of actual damages and statutory damages of not less than
 3   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 4         3.     An additional award of $4,000.00 as deterrence damages for each
 5   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 6   LEXIS 150740 (USDC Cal, E.D. 2016);
 7         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 8   pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
 9                               DEMAND FOR JURY TRIAL
10         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
11   raised in this Complaint.
12

13   Dated: November 21, 2018               MANNING LAW, APC
14

15                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
16                                       Michael J. Manning, Esq.
17                                       Craig G. Côté, Esq.
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18                                       Attorneys for Plaintiff
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                                           COMPLAINT
